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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


   UNITED STATES OF AMERICA,                           )
                                                       )
                                  Plaintiff,           )
                                                       )
                        v.                             )      Case No. 4:15-cr-0028-TWP-VTW
                                                       )
   CARLOS SHELTON,                                     )      -   01
   TERRANCE BRASHER,                                   )      -   07
   BRANDY GUM,                                         )      -   11
                                                       )
                                  Defendants.          )

                     ENTRY ON GOVERNMENT’S SANTIAGO PROFFER

        The Government has filed under seal, a Santiago proffer. (Filing No. 526). Rule 801(d)(2)(E)

 of the Federal Rules of Evidence provides that statements by co-conspirator’s made during the course

 and in furtherance of the conspiracy is not hearsay excluded under Rule 802. When a statement of a

 co-conspirator which would otherwise have been regarded as hearsay is proffered, a preliminary

 question arises under Rule 104 of the Federal Rules of Evidence. Rule 104 requires a preliminary

 determination by the trial judge as to the admissibility of the declaration of a co-conspirator. Under

 Rule 104 the competence of a co-conspirator declaration justifying its admissibility depends upon

 whether or not the existence of the conspiracy has been sufficiently established by independent

 evidence, and whether under Rule 801(d)(2)(E) the declaration was made during the course and in

 furtherance of the conspiracy.

        The trial judge retains the option of conditionally admitting the co-conspirator declaration

 evidence before the conspiracy has been independently established, but subject to the subsequent

 fulfillment of that critical condition. The standard to be applied during this competency determination

 is, “…if it is more likely than not that the declarant and the defendant were members of a conspiracy
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 when the hearsay statement was made, and that the statement was in furtherance of the conspiracy,

 the hearsay is admissible.” Unites States v. Santiago, 582 F.2d 1128 (7th Cir. 1978).

        The Defendants have filed no objections to the Santiago proffer. The Court has reviewed the

 proffer in detail. The Government’s proffer sets forth a coherent and facially plausible story that does

 not, at the present time, appear to be contradicted by extrinsic evidence. See United States v.

 Brookins, 52 F.3d 615, 623 (7th Cir. 1995). The Governments proffer provides sufficient evidence to

 convince the court by a preponderance of the evidence that (1) a conspiracy existed, (2) the

 defendants and other declarants were members of the conspiracy, and (3) the statement(s) sought to

 be admitted were made during and in furtherance of the conspiracy. See United States v. Cox, 923

 F.2d 519 (7th Cir. 1991).

        Thus, the Court finds the proffer is sufficient for present purposes. The co-conspirator

 statements summarized by the Government in its proffer are hereby conditionally admitted pursuant

 to Rule 801(d)(2)(E) of the Federal Rules of Evidence at the trial of this matter, subject to the

 Defendants’ right to later object if the proffered evidence does not materialize. Further, nothing in

 this Order precludes the Court’s ability to divert from these preliminary findings based on evidence

 produced at trial.

        SO ORDERED:

 Date: 5/23/2017




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